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     Federal Defender
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     Assistant Federal Defender
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5
6    Attorney for Defendant
     PAMELA STEPHANIE EMANUEL
7
8
9                     IN THE UNITED STATES DISTRICT COURT
10                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,       ) Case No. 2:17-CR-0060 MCE
                                      )
13         Plaintiff,                 )
                                      ) STIPULATION AND ORDER (PROPOSED)
14                          vs.       ) RE TEMPORARY RELEASE FOR
                                      ) FAMILY VISITATION
15    PAMELA STEPHANIE EMANUEL,       )
                                      )
16         Defendant.                 )
                                      )
17                                    )
                                      )
18
19         It is hereby stipulated and agreed between plaintiff,
20
     United States of America, and defendant, Pamela Stephanie
21
     Emanuel, through their attorneys, that Ms. Emanuel may be
22
     temporarily released from custody as set forth below to visit
23
24   her mother, Selma Barnes, at Kaiser Hospital in Oakland, in the

25   third-party custody of her sister, Vickie Johnson.

26         Ms. Emanuel’s mother was admitted to Kaiser Oakland on
27   January 13, has been diagnosed with congestive heart-failure,
28
     and is not expected to be discharged.        Family members are
                                          -1-
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1    preparing for her death.      Defense counsel has spoken to Ms.
2    Emanuel’s sister, Vickie Johnson of Stockton, who is willing to
3
     transport Ms. Emanuel from Sacramento County Jail to the
4
     hospital to see her mother and then to return her to the jail at
5
     any time the Court may approve.        The current plan is to escort
6
7    Ms. Emanuel this Thursday, January 24, between the hours of 8:00

8    a.m. and 5:00 p.m.

9           The parties agree that the Court may order Ms. Emanuel
10   temporarily released at 8:00 a.m. on Thursday, January 24, with
11
     instructions that she return to the jail by 5:00 p.m. the same
12
     day.   The Court shall direct the Marshal to coordinate Ms.
13
     Emanuel’s release and surrender with the jail as they see fit,
14
15   within the time frame permitted above.         Ms. Emanuel shall sign

16   the attached Notice to Defendant Being Released (modified to fit

17   the conditions of this temporary release) which defense counsel
18   will submit to the Courtroom Deputy for filing prior to release.
19
                                        Respectfully Submitted,
20
                                        HEATHER E. WILLIAMS
21                                      Federal Defender
22   Dated:   January 22, 2019          /s/ T. Zindel
                                        TIMOTHY ZINDEL
23
                                        Assistant Federal Defender
24                                      Attorney for PAMELA EMANUEL

25                                      McGREGOR SCOTT
                                        United States Attorney
26
27
     Dated:   January 22, 2019          /s/ T. Zindel for G. Rabenn
28                                      GRANT RABENN
                                        Assistant U.S. Attorney
                                          -2-
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1                                     O R D E R
2          Pamela Emanuel is ordered temporarily released from custody
3
     at 8:00 a.m. on Thursday, January 24, 2019, and is further
4
     ordered to surrender herself to the Sacramento County Jail by
5
     5:00 p.m. that day.     The Marshal is directed to make necessary
6
7    arrangements with Sacramento County for Ms. Emanuel’s release

8    and surrender.     Ms. Emanuel is ordered to sign the attached

9    notice to defendant being released.        All conditions set forth in
10   that notice are hereby ordered.
11
           IT IS SO ORDERED.
12
13   Dated:   January 23, 2019          ___________________________
                                        HON. EDMUND F. BRENNAN
14                                      United States Magistrate Judge
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